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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                    4:06CR3040
                                              )
             v.                               )
                                              )
NOE GUSTAVO CHAVEZ LOYA,                      )      ORDER SCHEDULING SENTENCING
                                              )                HEARING
                    Defendant.                )
                                              )


       IT IS ORDERED that the sentencing hearing for the defendant Noe Gustavo Chavez
Loya is scheduled to commence at 1:30 p.m. on July 9, 2007, in Courtroom No. 4, U.S.
Courthouse, 507 U.S. Courthouse, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present for the hearing.

      DATED this 25th day of June, 2007.

                                             BY THE COURT:


                                             s/ Warren K. Urbom
                                             United States Senior District Judge
